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      CLERK’S COURTROOM MOTIONS/MISCELLANEOUS MINUTE SHEET


PARKER BEDNASEK
          Plaintiff

       v.                                                     CASE NO. 15-9300-JAR


KRIS W. KOBACH,
           Defendant

STEVEN WAYNE FISH, et al,
         Plaintiff

       v.                                                     CASE NO. 16-2105-JAR

KRIS W. KOBACH,
           Defendant
                                 Location: Telephone Conference

JUDGE:                Julie A. Robinson          DATE:               2/8/2018
DEPUTY CLERK:         Bonnie Wiest               REPORTER:           Kelli Stewart
INTERPRETER:                                     PRETRIAL/PROBATION:

                        TELEPHONE PRETRIAL CONFERENCE
This case comes on before the Court for final pretrial conference. Plaintiff Bednasek appears by
counsel, Mark Johnson, Curtis Woods and Samantha Jo Wenger. Plaintiffs Fish, Bucci, Stricker,
Boynton, Hutchinson and League of Women’s Voters of Kansas appear by counsel, Dale Ho,
Doug Bonney, Orion Danjuma, Angela Lieu, Sophia Lakin and Emily Zhang. Defendant
Kobach appeared by counsel, Susan Becker

The Court reviews trial procedures with the parties. Estimated time of trial is seven days. The
Court sets deadline of February 19, 2018 for parties to reach an agreement on stipulated exhibits
and factual stipulations. The Court will allow 15 minutes for each party for opening statements.
The witness sequestration rule is not invoked at this time, subject to renewal at trial. Order of
Proof was discussed. Daubert motions will be taken under advisement during the trial, with the
exception of the Fish Plaintiffs’ Motion to Exclude and Strike Untimely “Additional” Expert
Opinions from Dr. Jesse Richman (Doc. 448). The response to this motion is due February 16;
the Court will rule on this before trial. The Court will discuss with the parties during trial how to
best proceed on the Motion for Contempt (Doc. 423) filed by plaintiffs Boynton, Bucci, Fish,
Hutchinson, Stricker and League of Women Voters of Kansas.

Proposed findings of fact and conclusions of law are not mandatory, but may be filed by
February 20, 2018. The Court will set a deadline for post-trial proposed findings of fact and
conclusions of law at the conclusion of trial.
